837 F.2d 475
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Kenneth R. FOUST, Plaintiff-Appellant,v.David DIXON, Paul E. Poe, Richard Germond, Richard H.Austin, Defendants-Appellees.
    No. 87-1866.
    United States Court of Appeals, Sixth Circuit.
    Jan. 15, 1988.
    
      Before ENGEL, CORNELIA G. KENNEDY and KRUPANSKY, Circuit Judges.
    
    ORDER
    
      1
      This matter is before the Court upon consideration of the appellant's response to this court's October 2, 1987, order directing him to show cause why his appeal should not be dismissed for lack of jurisdiction.
    
    
      2
      It appears from the record that the final order was entered July 2, 1987.  The notice of appeal filed on September 1, 1987 was twenty-nine days late.  Fed.R.App.P. 4(a) and 26(a).
    
    
      3
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Fed.R.App.P. 4(a) is a mandatory and jurisdictional prerequisite which this Court can neither waive nor extend.  Peake v. First Nat'l Bank and Trust Co. of Marquette, 717 F.2d 1016 (6th Cir.1983).  Fed.R.App.P. 26(b) specifically provides that this Court cannot enlarge the time for filing a notice of appeal.
    
    
      4
      Accordingly, it is ORDERED that the appeal be and it hereby is dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    